          Case 8:22-cr-00440-PX Document 66 Filed 08/29/23 Page 1 of 14



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                                      x

 UNITED STATES OF AMERICA,

                                   Plaintiff,

                           v.                               Case No. 8:22-cr-00440-PX
 NADER POURHASSAN and KAZEM
 KAZEMPOUR,

                                   Defendants.
                                                      x



                  REPLY TO THE GOVERNMENT’S OPPOSITION TO
             DR. POURHASSAN’S MOTION TO DISMISS THE INDICTMENT

       Dr. Nader Pourhassan (“Dr. Pourhassan”), by his undersigned counsel, hereby respectfully

replies to the Government’s Opposition to his Motion to Dismiss the Indictment (the

“Opposition”).

                                       INTRODUCTION

       In its Opposition, the Government seeks to avoid dismissal with hyperbolic indignation,

referring to Dr. Pourhassan’s well-founded constitutional concerns and citation to precedential

Fourth Circuit law as “incredibl[e].” Opposition at 1, 37. In doing so, the Government claims that

the Indictment charges Dr. Pourhassan with a “garden variety fraud that is neither new nor novel.”

Opposition at 1.    To support this assertion, the Opposition focuses almost entirely on the

Indictment’s allegation that Dr. Pourhassan made false statements regarding the BLA’s

completeness, knowing that an “incomplete BLA would result in a ‘definite’ rejection,” all to

“inflate and maintain CytoDyn’s stock price and attract new investors.” Opposition at 5, 9, 24, 26,

28 and 41.
          Case 8:22-cr-00440-PX Document 66 Filed 08/29/23 Page 2 of 14



       The Government is right. This theory is not “new or novel.” The Fourth Circuit has

previously considered and rejected this theory, thereby depriving Dr. Pourhassan of

constitutionally required notice that his conduct here could be considered criminal. See Dr.

Pourhassan’s Motion to Dismiss the Indictment (the “Motion to Dismiss”) at 2-3; 7-13. Indeed,

in the context of biopharmaceutical companies and their CEOs, the Fourth Circuit could not have

been clearer that the charged scheme theory is not even plausible, let alone illegal. It is simply

“improbable that [Dr. Pourhassan and CytoDyn] would stake its existence on [a BLA for] a drug

and a clinical trial that [Dr. Pourhassan and] the company thought was doomed [for] failure.”

Cozzarelli v. Inspire Pharms. Inc., 549 F.3d 618, 627 (4th Cir. 2008) (internal citations omitted).

The Government’s “inference of fraud based on the supposed impossibility of [the BLA and the

drug] clearing is thus not even plausible, much less convincing.” Id.

       Even more, the Fourth Circuit has also rejected as implausible the Indictment’s intent

theory that Dr. Pourhassan sought to “inflate and maintain CytoDyn’s stock price and attract new

investors.” Opposition at 5. Here again, in the context of biopharmaceutical companies and their

CEOs, the Fourth Circuit could not have been more clear: these alleged motives are insufficient to

show fraudulent intent because this is precisely what biopharmaceutical company CEOs are

supposed to do to develop critical drugs, “a strong inference of fraud does not arise merely from

seeking capital to support a risky venture,” and “motivations to raise capital or increase one’s own

compensation are common to every company and thus add little to an inference of fraud.”

Cozzarelli, 549 F.3d at 627 (internal citations omitted).

       In fact, nowhere in the Opposition does the Government address—let alone even grapple

with—the Fourth Circuit’s express warning to courts against permitting accusations of securities

fraud to proceed against biopharmaceutical companies and their executives for issuing positive




                                                 2
          Case 8:22-cr-00440-PX Document 66 Filed 08/29/23 Page 3 of 14



and bullish statements in order to raise funds. Motion to Dismiss at 2. This warning is especially

applicable here, where Dr. Pourhassan and CytoDyn were creating “ground-breaking,

experimental drugs designed to combat the world’s deadliest illnesses” and now Dr. Pourhassan

finds himself in the very “hot seat” that the Fourth Circuit cautioned against. Emps.’ Ret. Sys. of

Baton Rouge & Par. of E. Baton Rouge v. MacroGenics, Inc., 61 F.4th 369, 388 (4th Cir. 2023).

Dr. Pourhassan is in this “hot seat” because the Government has done exactly what the Fourth

Circuit has prohibited, namely “infer[ring] scienter from every bullish statement by [Dr.

Pourhassan] that was trying to raise funds,” thereby risking choking “off the lifeblood of

innovation in medicine.” Cozzarelli, 549 F.3d at 627.

       Instead of adhering to Fourth Circuit law, or addressing these critical points, the

Government’s Opposition first offers irrelevant purported factual distinctions involving the Fourth

Circuit and other case law discussed above and in the Motion to Dismiss. See for example,

Opposition at 31-32.      In doing so, the Government relies on unproven and unalleged

characterizations regarding the Indictment’s contents, such as an assertion that the statements at

issue were “obviously false and misleading,” (Opposition at 30) or that they involve “a history and

pattern of deceptive conduct.” Opposition at 31. As the Motion to Dismiss makes clear, these

characterizations are not only unproven, but they are also incorrect. Motion to Dismiss at 7-13.

       Critically, the Opposition fails entirely to address the Court’s decision in United States v.

Brennan, 183 F.3d 139, 150 (2d Cir. 1999), discussed at length in the Motion to Dismiss. Motion

to Dismiss at 6-7. As explained in the Motion to Dismiss, Brennan responds directly to the

Government’s purported efforts to distinguish Fourth Circuit precedent, explaining that “[e]ven if

these civil cases would be distinguishable from the facts presented here,” they “substantially

undercut the notion that” Dr. Pourhassan “had fair notice that” his conduct “could constitute a




                                                3
            Case 8:22-cr-00440-PX Document 66 Filed 08/29/23 Page 4 of 14



crime.” Brennan, 183 F.3d at 150; see also United States v. Matthews, 787 F.2d 38, 49 (2d Cir.

1986) (“When a person of ordinary intelligence has not received fair notice that his contemplated

conduct is forbidden, prosecution for such conduct deprives him of due process.”).

       Then, the Opposition cites irrelevant caselaw, seeks to minimize the relevance of Fourth

Circuit cases cited in the Motion to Dismiss as involving only the Private Securities Litigation

Reform Act (“PSLRA”), and fails to otherwise demonstrate that Dr. Pourhassan had notice that

his conduct was criminal.

       Finally, contrary to the Opposition, the constitutional deficiencies involving the securities

fraud charges (Counts 2, 3, 4 and 9) require dismissal of the remaining charges (Counts 1, 4, 5, 6,

10, 11-13) because they are entirely dependent on the same precluded theory of fraud. Opposition

at 35; see also Motion to Dismiss at 4. Each of these counts relies on the allegation that Dr.

Pourhassan acted knowingly and willfully with an intent to defraud—including the Government’s

claim of insider trading. See, e.g., Sec. & Exch. Comm’n v. AT&T, Inc., 626 F. Supp. 3d 703, 752

(S.D.N.Y. 2022) (to establish insider trading, the “Government must prove, among other things,

scienter (intent to defraud) and intended personal benefit”).

       1.      The Government’s Opposition offers irrelevant caselaw.

       The Government’s Opposition relies on Singer v. Reali, 883 F.3d 425 (4th Cir. 2018) and

Zak v. Chelsea Therapeutics Int’l, Ltd., 780 F.3d 597 (4th Cir. 2015) (see Opposition at 29) to

support the Indictment’s theory of fraud. As an initial matter, both of these cases are civil cases

under the PSLRA, thereby contradicting the Government’s other argument that PSLRA cases “do

not apply in criminal cases.” Opposition at 28 n.9. The Court should not permit the Government

to have it both ways. For the reasons discussed above and below, the Fourth Circuit PSLRA cases

that Dr. Pourhassan cited do apply here.




                                                 4
          Case 8:22-cr-00440-PX Document 66 Filed 08/29/23 Page 5 of 14



       Neither Singer nor Zak, however, are relevant. First, neither case disavows, or otherwise

calls into question, the Fourth Circuit’s findings and warnings in Cozzarelli or Employees’

Retirement System of Baton Rouge, the second of which is the Fourth Circuit’s most recent relevant

authority. In fact, the Court in Employees’ Retirement System of Baton Rouge, specifically

addressed both Singer and Zak, distinguished and otherwise limited them to their facts, and after

doing so, proceeded to warn courts against placing biopharmaceutical companies and their CEOs

in the “hot seat,” and for investors to “not expect that every fact known to an issuer supports its

opinion statement.” 61 F.4th at 388.

       In addition, Singer did not even concern allegations against a biopharmaceutical company,

let alone one involved in “ground-breaking, experimental drugs designed to combat the world’s

deadliest illnesses.” Emps.’ Ret. Sys. of Baton Rouge, 61 F.4th at 388. Instead, Singer involved

allegations that a medical device company defrauded the United States Government and concealed

that fraud from investors. 883 F.3d at 428. Accordingly, none of the Fourth Circuit’s warnings or

holdings discussed in the Motion to Dismiss or above were even at issue in Singer.

       On the other hand, Zak involved what the Court characterized as a “significant allegation”

that the FDA had issued “a recommendation against approval of” the relevant drug, and the

defendants allegedly concealed this fact from investors. Zak, 780 F.3d at 610. Here, there is no

allegation that the FDA had told Dr. Pourhassan that it would not approve leronlimab. This is an

important difference between Zak and Cozzarelli. Here, as in Cozzarelli, it is simply “improbable

that [Dr. Pourhassan] would stake [CytoDyn’s] existence on a drug and a clinical trial that the

company thought was doomed [for] failure.” Cozzarelli, 549 F.3d at 627. This implausibility was

just not at issue in Zak, however, because of the FDA’s express recommendation against approval.




                                                5
            Case 8:22-cr-00440-PX Document 66 Filed 08/29/23 Page 6 of 14



       2.      The Government’s Opposition offers irrelevant assertions regarding the
               PSLRA.

       As explained above, the Government claims that Dr. Pourhassan’s cited Fourth Circuit

PSLRA cases “do not apply in criminal cases.” Opposition at 28 n.9. In doing so, the Government

claims that the PSLRA requires proof of different elements and heightened pleading standards.

Opposition at 28 n.9. However, there is no dispute that the PSLRA and the charges in the

Indictment all require allegations of fraudulent intent, and this is the focus of the Motion to

Dismiss. Motion to Dismiss at 7-14. Indeed, the Motion to Dismiss addresses the portions of

Cozzarrelli, Employees’ Retirement System of Baton Rouge, and other cases, focused on whether

the respective allegation of fraudulent intent was even plausible, and the unique concerns courts

should show biopharmaceutical companies—not the “heightened pleading standards” or the need

to “plead and prove different additional elements” in a civil case that the Opposition takes issue

with. Motion to Dismiss at 2-4; Opposition at 28 n.9. In fact, the Motion to Dismiss does not even

discuss “reliance, causation and loss” or other differences that the Opposition cites, all of which

are a smokescreen which the Court should disregard. Opposition at 28. The Motion to Dismiss

demonstrates that the Indictment’s very theory of fraudulent intent has been rejected as implausible

and improper by the Fourth Circuit. Motion to Dismiss at 2-4.

       Moreover, in seeking to argue that the PSLRA is a civil statute, the Government misses the

point—that the Fourth Circuit’s rejection of the Government’s theory of fraudulent intent is a

matter of constitutional notice and it reveals the Indictment’s pleading deficiencies. As the Court

in Brennan explained in this regard, insofar as the Indictment was based on a theory of fraud that

courts rejected in civil cases, “it violated the rule of lenity and the requirement of fair notice

implicit in the concept of due process.” Brennan, 183 F.3d at 149-50. As in Brennan, the

Government “has pointed to no precedent for criminal liability,” based on statements and actions




                                                 6
          Case 8:22-cr-00440-PX Document 66 Filed 08/29/23 Page 7 of 14



of a CEO of a biopharmaceutical company in circumstances like those presented here. Id. at 150.

To the contrary, the Fourth Circuit and other courts have rejected the Indictment’s theory of fraud

here. It is a basic point of notice and fairness: if the Fourth Circuit has precluded a theory of

liability in civil cases, how could Dr. Pourhassan possibly be on notice that he could be held

criminally liable under that same theory?

       In seeking to claim the PSLRA is not relevant here, the Government’s Opposition also fails

to address the requirement that courts must treat statutes consistently in the civil and criminal

contexts. Motion to Dismiss at 5. Indeed, criminal statutes that also provide civil causes of action,

such as the securities laws, should be interpreted strictly and consistently in both the criminal and

civil contexts. See Hartford Steam Boiler Inspection v. Int’l Glass Prods., LLC, No. 2:08CV1564,

2016 WL 5468111, at *16 (W.D. Pa. Sept. 29, 2016) (Court found that interpretation of the

Computer Fraud and Abuse Act whose provisions have both civil and criminal application applies

uniformly in both contexts), citing Leocal v. Ashcroft, 543 U.S. 1, 11 n.8 (2004) (“Because we

must interpret the statute consistently, whether we encounter its application in a criminal or

noncriminal context, the rule of lenity applies.”).

       Simply put, there cannot be one construction of statutes for the civil courts and another for

the Department of Justice. Motion to Dismiss at 5; see also FCC v. Am. Broad. Co., 347 U.S. 284,

296 (1954) (Court ruled that construction of the law urged by the FCC should likewise apply in

criminal cases). This Court must therefore interpret the securities and wire fraud statutes that the

Government rely on consistently with their application in both criminal and noncriminal contexts.

See Leocal, 543 U.S. at 11 n.8. Because the Fourth Circuit and other courts have rejected the

theory of fraud put forward by the Government in the civil context, there is no basis to criminalize




                                                  7
            Case 8:22-cr-00440-PX Document 66 Filed 08/29/23 Page 8 of 14



such conduct, and under the rule of lenity, the Indictment against Dr. Pourhassan must be

dismissed.

       3.      The Government’s Opposition otherwise fails to demonstrate that Dr.
               Pourhassan had notice that his conduct was criminal.

       The Government argues that Dr. Pourhassan “mischaracterizes the indictment as alleging

that [Dr.] Pourhassan made ‘overly optimistic statements about drug approval expectations.’”

Opposition at 28. This is not a mischaracterization, and it is exactly what the Indictment alleges.

For example, paragraphs 28 through 35 of the Indictment all concern allegations that Dr.

Pourhassan made overly optimistic statements regarding when the BLA would be submitted, the

prospects and timeline for leronlimab approval, and related expectations for CytoDyn. However,

as discussed above and in the Motion to Dismiss, in a case against the CEO of a biopharmaceutical

company, it is improper to “infer[] scienter from every bullish statement by a pharmaceutical

company that was trying to raise funds.” Motion to Dismiss at 3. Thus, to the extent Dr.

Pourhassan did what the Indictment alleges—made overly optimistic or bullish statements—Dr.

Pourhassan did not have notice that he was engaged in criminal conduct.

       Indeed, factual allegations that the Government relies on consist of Dr. Pourhassan’s

actions, which altogether, are consistent with his role as a Chief Executive of a biopharmaceutical

company seeking to finance such company’s critical efforts in developing a drug with the potential

of saving millions of lives—actions that the Fourth Circuit and other courts have declined to

admonish under the securities laws.      The following examples from the Opposition further

demonstrate this lack of notice:

       Dr. Pourhassan’s optimism with respect to the BLA timeline. With respect to the HIV

BLA, the Government alleges that Dr. Pourhassan “selected timelines for submission to the FDA

that he knew CytoDyn and Amarex could not meet based on what he believed would artificially




                                                8
          Case 8:22-cr-00440-PX Document 66 Filed 08/29/23 Page 9 of 14



inflate and maintain CytoDyn’s stock price and attract new investors.”          Opposition at 28;

Indictment ¶¶ 34-37. Contrary to the Government’s claim, Dr. Pourhassan’s “optimism” with

respect to the timing of the BLA filing does not support an inference of fraudulent intent. Rather,

his conduct was consistent with non-actionable statements of positive and optimistic corporate

“expectation,” which, at most, amount to mere puffery. See Emps.’ Ret. Sys. of Baton Rouge, 61

F.4th at 386.

       Dr. Pourhassan’s lack of knowledge that the BLA submitted on April 27, 2020 was

“incomplete.” The Government also alleges that Dr. Pourhassan “directed Kazempour to submit

a BLA that [they] knew the FDA would reject as incomplete in order to create the false appearance

that CytoDyn had surpassed a milestone when, in reality, it had not.” Opposition at 28-29;

Indictment ¶¶ 15, 37. Additionally, the Government claims that Dr. Pourhassan “falsely claimed

in April 2020 that CytoDyn had submitted a ‘completed’ BLA when he know [sic] that it had not.”

Opposition at 29; Indictment ¶¶ 16, 39-40. All these allegations again fail to demonstrate that Dr.

Pourhassan had notice that he was subject to potential criminal liability.

       First, consistent with his role as the CEO of CytoDyn, Dr. Pourhassan was of course

motivated to get the BLA filed to receive FDA approval and to raise funds for ongoing clinical

trials examining leronlimab’s efficacy against other diseases. As the Fourth Circuit has made

plain, this was his job—not a crime. See Cozzarelli, 549 F.3d at 627. In the April 14, 2020 e-mail

that the Government relies on, Dr. Pourhassan wrote, “Please file the BLA no later than next

Wednesday, even if we are short in no matter what portion of whatever it is that we are short.”

Indictment ¶ 37. The Government fails to explain how an out-of-context e-mail to Amarex that

“the BLA should be filed even if it was ‘short,’” equates to Dr. Pourhassan instructing Amarex to

file an “incomplete” BLA.




                                                 9
         Case 8:22-cr-00440-PX Document 66 Filed 08/29/23 Page 10 of 14



       In fact, the BLA was filed on April 27, 2020 (Indictment ¶ 38)—two weeks after the April

14, 2020 e-mail from Dr. Pourhassan—certainly not the following “Wednesday” as Dr. Pourhassan

wrote. The Indictment fails to allege that Dr. Pourhassan knew, or expected, that the BLA would

not be completed during this two-week period. Thus, the April 14, 2020 email does not support a

claim that Dr. Pourhassan was on notice that his conduct could constitute a crime.

       Second, the Government alleges that Dr. Pourhassan “falsely claimed . . . that CytoDyn

had submitted a ‘completed’ BLA when he know [sic] that it had not” (Opposition at 29;

Indictment ¶¶ 16, 39-40) but omits the important fact that CytoDyn’s press release and investor

call was held on April 27, 2020. Indeed, according to the Indictment and Opposition, this press

release and investor call both occurred three days before April 30, 2020 when the Indictment

alleges that Dr. Pourhassan received from Amarex the FDA e-mail stating that the BLA was

incomplete. Indictment ¶ 42. Thus, these allegations also do not demonstrate that Dr. Pourhassan

had the requisite notice.

       Additionally, CytoDyn’s corrective disclosures in May 2020 following the filing of the

BLA, negate, rather than support, a finding of fraudulent intent. Motion to Dismiss at 9. The

Government alleges that CytoDyn’s press releases in May 2020 “falsely claimed that a complete

BLA had been submitted, knowing that CytoDyn did not possess the necessary data to complete

the BLA.” Opposition at 29; Indictment ¶¶ 45-48. To the contrary, these corrective disclosures

clarify the status of the BLA to the public, including noting that “[t]he BLA will not be considered

completed until the Company submits to the FDA clinical datasets required to address FDA

comments it received in March 2020.” Indictment ¶ 46. Finally, the Court should reject the

Government’s claim that this issue is “inappropriate for a motion to dismiss and instead, should

[be] argued at trial.” Opposition at 33. On the issue of whether Dr. Pourhassan had constitutionally




                                                10
         Case 8:22-cr-00440-PX Document 66 Filed 08/29/23 Page 11 of 14



sufficient notice that his conduct could be criminal, the Court may appropriately consider such

information prior to trial. Motion to Dismiss at 8 n.1; id. at 11 n.3.

       Dr. Pourhassan’s stock sales in April and May 2020. The Government also relies on

allegations that Dr. Pourhassan “sold millions of dollars of CytoDyn stock for his own personal

benefit before the public could learn the truth – and then lied to investors about that too.”

Opposition at 29 (citations omitted). The Indictment cites a May 4, 2020 video interview of Dr.

Pourhassan where “[he] explained that he ‘exercised [his] options’ in order to provide the company

with funding for the following five to six weeks, which ‘took a tremendous beating on [him]’

because he ‘ha[d] to pay hefty taxes.’” Indictment ¶ 44. Indeed, Dr. Pourhassan’s statements

comport with the fact that he provided a substantial amount of proceeds from his sales of options

in April and May 2020 to enable CytoDyn to make payments due to Samsung Biologics, not to

personally enrich himself. Motion to Dismiss at 8 n.1.

       The Government does not dispute that Dr. Pourhassan’s sales assisted with providing

critical funding to CytoDyn during this time, or that Dr. Pourhassan only received a fraction of the

total value of his shares because of the overwhelming tax penalties he personally endured in order

to facilitate CytoDyn’s timely payment to Samsung Biologics (Dr. Pourhassan received only $4.4

million out of shares valued at a total of $15.6 million). Opposition at 32; Indictment ¶ 43.

Therefore, the Government’s allegation in its Opposition that Dr. Pourhassan sold CytoDyn stock

solely “for his own personal benefit,” (an allegation that is missing in the Indictment) is

contradictory to the very allegations that the Government cites. See Opposition at 32 n.13;

Indictment ¶ 44. Thus, these allegations do not provide Dr. Pourhassan with the requisite notice.

       Dr. Pourhassan’s statements regarding the significance of certain data related to

CytoDyn’s COVID-19 trials. The Government alleges that Dr. Pourhassan “falsely represented




                                                 11
         Case 8:22-cr-00440-PX Document 66 Filed 08/29/23 Page 12 of 14



that leronlimab was an effective treatment for COVID-19 without disclosing that the FDA had

rejected the company’s findings and analysis and admonished the company for making misleading

public statements about results of its clinical trials.” Opposition at 29; Indictment ¶¶ 5-12. As

argued in Dr. Pourhassan’s Motion to Dismiss, the Government failed to move its allegation from

a mere disagreement with the FDA to an actionable misrepresentation or omission. Motion to

Dismiss at 12-13. Again, the Government chooses to ignore the Fourth Circuit’s repeated

warnings about accusations of fraud against biopharmaceutical companies and their CEOs and the

perfectly legitimate goal for these companies’ CEOs to protect their respective company’s stock

price to move forward with costly clinical trials to support the successful launch of a new drug that

could potentially treat some of the world’s deadliest diseases. The only thing “garden variety,”

(Opposition at 36), in this case is that the Chief Executive of an innovative biopharmaceutical

company was doing what he was hired to achieve: raise funds for the company and be vigilant

about the stock price in order to move forward with the company’s mission.

       Ultimately, throughout the Indictment and the Opposition, the Government seeks to

criminalize and infer fraud from all of Dr. Pourhassan’s legitimate efforts to raise money and keep

CytoDyn afloat. The Government’s attempt to turn Dr. Pourhassan’s optimistic and positive

statements about a drug he truly believed worked for patients into fraud falls flat as the statements

and communications on which they rely do not support allegations of fraudulent intent or put Dr.

Pourhassan on notice that his conduct was criminal.

                                         CONCLUSION

       For all of the reasons stated above together with Dr. Pourhassan’s Motion to Dismiss the

Indictment, Dr. Pourhassan respectfully requests that the Court dismiss the Indictment against him.




                                                 12
         Case 8:22-cr-00440-PX Document 66 Filed 08/29/23 Page 13 of 14




Dated:     Washington D.C.
           August 29, 2023
                                      Respectfully submitted,

                                      Linklaters LLP
                                      By: /s/ Adam S. Lurie
                                      Adam S. Lurie (MD Bar # 2109280004)
                                      Doug Davison, Pro Hac Vice
                                      601 13th St. NW #400
                                      Washington, D.C. 20005
                                      Telephone: (202) 654-9200

                                      Nicole E. Jerry, Pro Hac Vice
                                      Charlene Valdez Warner, Pro Hac Vice
                                      1290 Avenue of the Americas
                                      New York, NY 10104
                                      Telephone: (212) 903-9000

                                      Attorneys for Defendant Nader Z. Pourhassan




                                       13
         Case 8:22-cr-00440-PX Document 66 Filed 08/29/23 Page 14 of 14



                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 29, 2023, a copy of the foregoing was filed via CM/ECF,

which automatically sends notice of such filing to all parties in this matter, including:

Aaron S.J. Zelinsky
Leo Joseph Wise
United States Attorney’s Office
36 South Charles Street, 4th Floor
Baltimore, Maryland 21201

Joshua DeBold
Christopher Fenton
Michael T. O’Neill
Department of Justice
1400 New York Ave
Washington, DC 20530

Benjamin A. O Neil
McGuireWoods LLP
888 16th Street N.W.
Black Lives Matter Plaza
Suite 500
Washington, DC 20006

Caroline S. Schmidt
McGuireWoods LLP
800 East Canal Street
Ste Gateway Plaza
Richmond, VA 23219

Jason H. Cowley
McGuireWoods LLP
201 North Tryon Street, Suite 3000
Charlotte, NC 28202
                                                  /s/ Adam S. Lurie
                                                  Adam S. Lurie
                                                  Attorney for Defendant Nader Z. Pourhassan
